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                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                    NORTHERN DIVISION

STEPHEN WARD                                                                                      PLAINTIFF

v.                                 Case No. 3:22-CV-00250-LPR-BBM

HAROLD COPENHAVER, et al.                                                                     DEFENDANTS

                                                    ORDER

        The Court has reviewed the Partial Recommended Disposition (PRD) submitted by United

States Magistrate Judge Benecia B. Moore (Doc. 68). No objections have been filed, and the time

for doing so has expired. After a de novo review of the PRD, along with careful consideration of

the entire case record, the Court hereby approves and adopts the PRD in its entirety as this Court’s

findings and conclusions in all respects.

        Accordingly, the Motion to Dismiss Defendant Morris (Doc. 66) and the Joint Motion to

Dismiss Defendant Randall (Doc. 67) are construed as self-executing notices of dismissal without

prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i) and (a)(1)(B).1 The Clerk of

Court is directed to administratively terminate Defendants Morris and Randall from this case. The

Clerk of Court is also directed to file pages 4–7 of the Joint Motion to Dismiss (Doc. 67) as a

Sealed Exhibit to the Joint Motion. Defendant Randall’s Motion to Dismiss (Doc. 34) and

Plaintiff’s Motion to Strike Defendant Randall’s Motion to Dismiss (Doc. 44) are DENIED as

moot.

        IT IS SO ORDERED this 24th day of June 2024.
                                                             _______________________________
                                                             LEE P. RUDOFSKY
                                                             UNITED STATES DISTRICT JUDGE

1
 The Court has some concerns that, given the settlement agreement, Ms. Randall’s dismissal should be with prejudice
as opposed to without prejudice. But Ms. Randall did not object to the PRD, and so the Court adopts the
without-prejudice recommendation despite the Court’s misgivings.
